      Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 1 ELECTRONICALLY
                                                              of 16          FILED
                                                                                       Pulaski County Circuit Court
                                                                                 Terri Hollingsworth, Circuit/County Clerk
                                                                                    2020-Mar-10 10:31:59
                                                                                       60CV-20-1941
               IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS                      C06D12: 16 Pages
                                            DIVISION




ARTHUR CARSON, PLAINTIFF.,

V.

WOLFE STREET FOUNDATION, DEFENDANT.,
VICKIE SIEBENMORGEN, DEFENDANT,
JAMES BOILING, DEFENDANT.,




                             COMPLAINT WITH JURY DEMAND


TO THE HONORABLE JUDGE OF SAID COURT:

 Comes Now the Plaintiff, Arthur carson, and would Like to Show the following:



                                         I.   PARTIES:



       1). PLAINTIFF, ARTHUR CARSON, 10434 W. 36th Street, Little Rock, AR 72204;

      2). WOLFE STREET FOUNDATION, (Registered Agent, Joy Reynolds, 1015 S.

       Louisiana Street, Little Rock, AR 72202;



                                                  (1)
Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 2 of 16



3). Vickie Siebenmorgen,Executive Director-1015 S. Louisiana Street, Little Rock, AR
72202;

4). James Boiling, (Acting Manager), 1015 S. Louisiana Street, Little Rock, AR 72202.




                                II.   JURISDICTION:

This Court has Jurisdiction, pursuant to; A.C.A. Sec. 11-8-103, "Corporate Liability",

A.C.A. Sec.11-64-122, "Negligence·, Sec. 11-5-115, "Workplace Prevention", Arkansas-

Civil Rights Statue,"; Sec. 16-123-107, Plaintiff Invoke the General Jurisdiction of This

Court, 42 USC 1983, 29 USC 654 "Legal Obligation to Maintain a Safe Work

Environmenr, 29 USC 203, "Fair Labor Standard Acf'.




                            Ill. STATEMENT OF THE CLAIMS:



(A). The Defendant's, Wolfe Street Foundation, and Executive Director, Vickie-

Siebenmorgen, Have Carelessly, and Negligently failed to Ban Violent and disruptive

Attendees of Wolf Street Permanently;

(B). Discriminatorily Dispensing Health and Life Insurance, while Highly Compensated

Staff receive Full Benefits, including 401 k;

( C ). The Defendants failed to Prosecute Attendees who Violate The Law;

(D). The Defendants have Fostered a Violent Workplace Atmosphere;

(E). The Defendant's failure to Act On Workplace Threats of Violence, Harassment,

Or intimidation, are the proximate cause of Carson's injuries.

                                                (2)
Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 3 of 16




(F). The Defendants failed to have Visitors to Wolf Street Register prior to entering

The Building or Establishing a method to determine who is in the Building;

(G). The Defendant's failed to Require all meeting Chairperson and Sponsor

Expel its trouble-makers;

(H). The Defendants concealed the Active Shooter Manual from Carson, and

Failed to provide any Training in the area.




                                IV. STATEMENT OF FACTS:

1). Plaintiff, " Carson" was An Employee of Wolfe Street Foundation, "WSF".

On 2/19/2020, V\lhile Working as the Building Monitor, which duties included being

On the front line, to ensure Safety in the Building. Carson would inform His Superiors,

James Boiling, and Vickie Siebenmorgen of any perceived problems or potential

Attendees from Loiters.

 The Defendants at all times failed to take reasonable steps to prevent Workplace

Violence, even when warned by Carson, specifically that of February 18, 2020.

Carson, gave Vickie Siebenmorgen, James Boiling, a Memo that warned of

Dominique Sinclair's attempt to hide inside the Building while Carson were

Locking for the Night. No action were taken, even thought this individual had

A history of illegally entering the Building for housing.

2). On February 19, 2020, @7:45 P.M., while viewing the Security Monitor,

Carson noticed an individual run inside the Building, upstairs. Carson went to observe,
                                        (3)
       Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 4 of 16



And informed Him that if He pulled another stunt like attempting to hide in the Building,

Dominique became angry and mumble something, ran outside, where Carson went back

Inside to watch His activities through the Security Monitor. He was observed getting an

Object from the mailbox, and rushed to the Bookstore, and caused the doubled glass

Doors nearly to break,    carson unlocked the door, where Dominique rushed inside,

Causing the door to strike Carson and snapped His Head Back, causing His Neck and

Spinal issues. Carson swung back at Dominique in a defensive manner, before being

Grabbed by two guys and a lady, where during their attempts to subdue Him, Dominique

Kicked one of the guys in the head,(Luke), and tried to Kick the lady, in which Carson

Was on the Phone with the 911 operator. Dominique subsequently left the scene before

Police arrive, where a Warrant for His Arrest was issued.

3). The Assailant, Dominique Sinclair had a long history with WSF prior to His Assault

On Carson, yet no action was taken to ban His coming to the WSF.

The Night of Carson's altercation with Dominique, Carson called James Boiling Phone

Twice to inform Him what had occured, He refused to answer His phone. Even the Morning

After, - calls went to His Voicemail. Carson text James Boiling to ask about His Medical

Expenses He would incur, where James Boiling and Vickie Siebenmorgen has refused to

Respond to anything relating to Insurance or payment for Carson's injuries.

                                                (4)
       Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 5 of 16



All White Staff Members of WSF are given Insurance benefits, yet carson, the lone African-

American Staff Members were Discriminatorily deprived by Defendants.

4). The Defendant's abdicated its (1) duty of care to Carson, (2) Defendant Breached their

Duty, (3) there exist an actual causal connection between the Defendant's conduct and

Resulting harm to Carson, (4) Defendant's inactions are the proximate cause of Carson

Injury, which were foreseeable, and (5) damages resulting from Defendant's indifference to

His safety, where" On February 10, 2020, "Cassie•, A meeting attendee of NIA

Meetings were into an Argument with another attendee, however, Cassie hide a six inch

Knife in the Women's Restroom, where it was axiomatic Her intent, She was allowed to

Attend the evening meeting of M.

5). On February 14, 2020, Carson was approached by "Micheal Dennis", a Chairperson

For the AA Meetings, where He and five other AA Members approached Carson to taunt,

Where Michael Dennis told the other lets get Him and Take into the kitchen area ( sic).

This was done so because they could not get into their meeting room early. When Carson

Informed His Supervisor, James Boling, He said 'Well I know Michael Dennis", just over-

Look1at the harassment.

 The Defendant's "Open Violence Workplace Position• , while refusing to take any action to

Circumvent threats, harassment, or taunting affirmed the Violent atmosphere, and fostered

WSF Violent Workplace environment, resulting in Carson suffering a neck and spinal injury.

                                               (5)
       Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 6 of 16




                                           PRAYER:




WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY THAT, Declaratory And

Injunctive Action are taken to Implement a Workplace Violence Policy; Compensatory,

Punitive, Damages, Trial By Jury; All other equitable relief This Court deem Equitable.


~CT~UBMITTED~

Arthur Carson
10434 W. 36th Street #10-B
Little Rock, AR 72204
(artq1rson67@gmaii.Com)

 I, Arthur Carson.states the foregoing claims are true and correct to the best of My knowledge,

Pursuant to the Penalties of perjury, 28 USC 1746.

  I swear thJ-foregoing statements are true and correct.
 {);f;t...._ ~ .              . Datedthis4thdayofMarch, 2020.
Arthur Carson
In Propria Persona


                                               (6)
          Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 7 of 16




                                                                I   .




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;s-
                                                        llneed.to talkwith you
                                                       ·-i ndmtllboot--a      O•   •   -

- ,,                                                     tscalating problem with
  Cr>                                                    Mike and his associates
-,:--\
     --                                                  ih what I assume as
                                                         their ongoing effort to
~                                                        stop current policy by
                                                        :~ urning I will quit
                                                                Text message 3:4 5 AIJ
Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 8 of 16
Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 9 of 16




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                          Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 10 of 16
                  LITTLE ROCK POLICE DEPARTMENT INCIDENT REPORT
  • JUVENILE INFORMATION I           INCIDENT           Report generated: 2/20/2020 4:45 AM

 INCIDENT NUMBER                                                UNIT ASSIGNED             CALL DATE                     CALL TIME                        TYPE OF CALL
                 2020-019834                                             2X40               02/19/2020                      20:05:00                              ASLTJO
 INCIDENT DATE                                                                LOCATION OF INCIDENT (ADDRESS/ BUSINESS NAME)                                               DISTRICT
                                                                                                       1015 S LOUISIANA ST
              2/19/2020 7:50:00 PM                                                                                                                                                    40


                                                                                     OFFENSE
 INCIDENT OFFENSE TYPE                                                                                                                                   OFFENSE STATUS

 I. BATTERY 3RD DEGREE
 2. ASSAULT 3RD DEGREE
 3.
                                                                         s.
                                                                         6.
                                                                                                                                             Allempled
                                                                                                                                             Completed       1~2~3848
                                                                                                                                                             s8 8 8 ·8
                                                                         7.
                                                                                                                                             Anempted
 4.                                                                      I.                                                                                           6           1
                                                                                                                                             Completed


 SUSPECTS USED:                                                 TYPE OF CRIMINAL ACTIVITY:                                                                   GANG RELATED INFO:
 [tj{A) Alcohol                0CD)Drugs                        0(8) Buying/ Receiving               D {C) Cultivate /Manufacture/ Publish                   0 {J) Juvenile Gang
 O<C> Computer Equip           •     (N) Nol Applicable /
                                     Unknown
                                                                0CE) Exploiting Children             0(0) Operating/ Promoting/ Assisting                    D {G) Other Gang
                                                                0 {T) Transport / Transmit / Import 0{U) Using/ Consuming                                    [ti (N) None/ Unknown
                                                                0 (D) Distributing/ Selling         D (P) Possessing / Concealing
 LOCATION CODE:                                    0 (I 6) Lake / Waterway                   0(44} Daycare Facility                          0(51) Rest Area
 0(01) Air/ Bus /Train Terminal                    0 (17) Liquor Store                       0 (45) Dock/ Wharf/ Freight Terminal            0(52) School-College/ University
 0(02) Bank/ Savings & Loan                        0 (18) Parking Lot I Garage               0(46) Fann Facility                             0(53) School- Elementary/ Secondary
 0(03) Bar /Night Club                             0(19) Rental/ Storage Facility            0(47) Gambling/ Casino/ Racetrack               lt](54) Shelter- Mission/ Homeless
 0(04) Church/ Synagogue/ Temple                   0 (20) Residence / House                  0 (48) Industrial Site                          0(55) Shopping Mall·
 0(05) Commercial/ Office Building                0 (21) Restaurant                          0(49) Military Installation                     0(56) Tribal Lands
 0(06) Construction Site                          0 (22) School / College                    0 (SO) Park / Playground                        0(57) Community Center
 0(07) Convenience Store                          0 (23) Service / Gas Station
 D (08) Department / Discount Store               0(24) Specialty Store (TV, Fur, Etc)
 0 (09) Drug Store / DR Office / Hospital         0 (25) Other/ Unknown                           WEAPON FORCE:         (on I I-IS, an "A" deaoleo Automatic or Somi-AutomatioJ

 0(10) Field/ Woods                               0(37) Abandoned/Condemned Structure         _ 0 (11) Fireann (Unknown)                              0 (50) Poison
 0(1 I) Government/ Public Building               0(38) Amusement Park                        _     0(12)Handgun                                      0<60)Explosives
 002) Grocery/ Supennarket                        0(39) Arena/ Stadium/ Fairgrounds          _      0 ( I 3) Rifle                                    O (65) Fire/ Incendiary Device
 0(13) Highway/ Road/ Alley                       0(40) ATM Separate from Bank               _      004) Shotgun                                      0(70) Narcotics/ Drugs/
0(14) Hotel/ Motel I Etc                          0(41) Auto Dealership New/ Used                   0(15) Other Firearm                                 Sleeping Pills

0 ( I 5) Jail / Penitentiary                      0(42) Camp I Campground                     0 (20) Knife/ Cutting Instr (Axe, etc)                  0(85) Asphyxiation
1--------------------------1 0(30) BluntObject(Club, etc)                                                                                             D (90) Other
 (FOR BURGLARY ONLY)                                   METHOD OF ENTRY:                       0 (35) Motor Vehicle (as weapon}                        0 (95) Unknown
 NUMBER OF PREMISES ENTERED                                                                   lt](40) Personal Weapons (hands, etc)                   0(99)None
                                                      0(F) Forcible       0CN) No Force

 NARCAN USED:         0Yes            0No       Ootber




                               ·-·

 ENTRY DATE                              REPORTING OFFICER                                        ORIGINAL APPROVING SUPERVISOR
                                                                                                                                                                     0MVRin use
 02/20/2020 02:02:50 AGHOGHO ONIOVOS - 34305                                                      DERRICK THREADGILL - 27113

                                                                                             LRPD Fonn 5501-01 Rev. RMS-2019-01-23                                                    Page I of?

                                                                                                                                                                                           -~·l(
                       Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 11 of 16
 INCIDENT NiJMBER         2020-019834                                •   JUVENILE INFORMATION                                  Report generated: 2/20/2020 4:45 AM



                                                                             VICTIM
       VICTIM#            NAME (Last, Fint, Middle) or BUSINESS
           1                                                              CARSON,ARTHUR
ADDRESS:
                                                   1015 S LOUISIANA ST LITTLE ROCK AR 72202
HOME PHONE:                                     WORK PHONE:                             MOBILE PHONE:                               OTHER PHONE:
                                                5015081090
SEX:    li)(M)Male                 ETHNICITY:      0 (H)Hispanic           RACE: O(W)Wbite        0 (B) Black   O (I) American Indian           DATE OF BIRTH
0<F)Female        O<U) Unk.        0 (N) Non-Hispanic      O (U) Unk.                0(A) Asian/ Pacific Islander O(U) Unknown                         04/04/1954
RES. STATUS:          0 (R) Resident         MENTALLY AFFLICTED?                       OCCUPATION/ EMPLOYER:
0 (N) Nonresident O(U) Unknown               0CV)Yes ltJCN)No 0(U)Unk.

AGE:                                                              NIC:                                  . RELATIONSHIP OF THIS VICTIM TO SUSPECTS
Exact Age:          65                                                                                    SUSPECT(S) VICTIM WAS:         (by Suspect Number)
Ranae:     -
        ------                   0(BB) 7-364 Days Old                                                               (SE) Spouse                 1      (AQ) Acquaintance
0 (NN) Under 24 Hrs. Old         0 (99) Over 98 Years Old         D.L. / ID No. /STATE)                             (CS) Common-Law
                                                                                                                                                       (FR) Friend
                                                                                                                    SpCI\IIO

0CNB> 1-6 Days Old               0(00) Unknown                                                                      (PA) Parent                        (NE) Neighbor
                                                                                                                    (SB) Sibling                       (BE) Babysitter (baby)
THIS VICTIM RELATED TO WHICH OFFENSES?                                                                              (CH)Child                          (BO) Boy/Girl Friend
It]!    lt]2    03       04       Os       06     07       OB                                                       (OP) Grandparents                  (CF) Child of BF/ OF

                                                                                                                    (OC) Grandchild                    (HR)   Homosexual Rel.
VICTIM TYPE:       lt)(l) Individual       0(B) Business      O(F) Financial Inst.     0 (U) Unknown
                                                                                                                    (IL)lnlaw                          (XS) Ex-Spouse
                   0(G) Government 0 (R) Religious            0(S) Society/ Public 0(0)0ther
                                                                                                                    (SP) Stepparent                    (EE) Employee
VICTIM INJURY:                                                                                                      (SC) Stepchild                     (ER) Employer
li](N)None                         0 (M) Apparent Minor Injury           0 (B) Apparent Broken Bones                (SS) Stepaibling                   (OK) Olhelwioe Known
0 (I) Possible Internal Injury     Orn Loss ofTeeth                      0CL) Severe Laceration                     (OF) Other Family                  (RU) RelaliOfllbip Unknown
0 (0) Other Major Injury           O(U) Unconsciousness                                                             (ST) Stranger                      (VO) Victim Wu SlllpCCI


AGGRAVATED ASSAULT/ HOMICIDE: 0(01) Argument                                         0(02) Assault on Law EnfOfficer           0 (03) Drug Deal
0(04} Gangland                                0 (05) Juvenile Gang                   0(06) Lover's Quarrel                     0 (07) Mercy Killings
0(08) Other Felony Involved                   0 (09) Other Circumstances             0(10) Unknown Circumstances               0(20) Criminal Killed by Private Citizen
0 (21) Criminal Killed by Police Officer      0(30) Child Playing w/ Weapon          0 (31) Gun-Cleaning Accident              0   (32) Hunting Accident
0 (33) Other Negligent Weapon Handling        0(34) Other Negligent Killings

CLOTHING DESCRIPTION
HAT                                                          SHIRT                                                  SHOES
COAT                                                         PANTS/DRESS




                                                                                                                                                                   Page 2 of7
                         Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 12 of 16
 INCIDENT NUMBER            2020-019834                                     0 JUVENILE INFORMATION                              Report generated: 2/20/2020 4:45 AM



                                                                                  VICTIM
           VICTIM#          NAME (Last, First, Middle) or BUSINESS

             2                                                                  MAHOSKY,LUKE
ADDRESS:

                                                        1015 S LOUISIANA ST LITTLE ROCK AR 72202
HOME PHONE:                                        WORK PHONE:                              MOBILE PHONE:                               OTHER PHONE:
5016976111

SEX:        IZ](M)Male                ETHNICITY:       O(H)Hispanic             RACE:    IZ](W)White   0(B) Black Om American Indian            DA TE OF BIRTH
0(F)Fcmale           0(U) Unk.        IZ] (N) Non-Hispanic     D (U) Unk.                OCA) Asian/ Pacific Islander O(lJ) Unknown                    12/19/1982

RES. STATIJS:            IZ] (R) Resident        MENTALLY AFFLICTED?                       OCCUPATION I EMPLOYER:
0CN) Nonresident         D (U) Unknown           0(Y)Yes       IZ] (N) No   D (U) Unk.
AGE:                                                                   NIC:                                   RELATIONSHIP OF THIS VICTIM TO SUSPECTS
Exact Age:            37                                                                                      SUSPECTfS) VICTIM WAS:                   (by Suspect Number)
Ran11,e:
            ------                0(BB) 7-364 Days Old                                                                  (SE) Spouse                     (AQ) Acquaintance
•   (NN) Under 24 Hrs. Old        D (99) Over 98 Ycars Old             D.L. / ID No. CSTATEl                            (CS) Common-Law
                                                                                                                                                        (FR) Friend

                                  •
                                                                                                                        Spouse
0CNB) 1-6 Days Old                    COO) Unknown                                                                      (PA) Parent                     (NE) Neighbor

                                                                                                                        (SB) Sibling                    (BE) Babysitter (baby)
THIS VICTIM RELATED TO WHICH OFFENSES?                                                                                  (CH)Child                       (BG) Boy/Girl Friend
IZJ I       02    03       04      Os         06      07       Os                                                       (GP) Grandparents               (CF) Child of BF / GF

                                                                                                                        (GC) Grandchild                 (HR) Homosexual Rel.
VICTIM TYPE:         IZ](J) Individual        0 (B) Business      0CF) Financial Inst.     0 (U) Unknown
                                                                                                                        (IL) lnlaw                      (XS) Ex-Spouse
                     0(G) Government 0 (R) Religious              Desi Society/ Public     0(0)0ther
                                                                                                                        (SP) Stepparent                 (EE) Employee
VICTIM INJURY:                                                                                                          (SC) Stepchild                  (ER) Employer
0(N)Nonc                              D (M) Apparent Minor In_jury            0(B) Apparent Broken Bones
                                                                                                                        (SS) Stepsibling                (OK) Otherwise Known
0 (I) Possible Internal Injury        0     (T) Loss ofTceth                  0(L) Severe Laceration                                                    (RU) Rol1tionship Unblown
                                                                                                                        (OF) Other Family
0 (0) Other Major Injury              0     CU) Unconsciousness
                                                                                                                        (ST) Stranger                   (VO) Victim Was St11poc1


AGGRAVATED ASSAULT I HOMICIDE: 0(01) Argument                                            0 (02) Assault on Law Enf Officer     0(03) Drug Deal
0(04) Gangland                                    D (05) Juvenile Gang                   0 (06) Lover's Quarrel                D (07) Mercy Killings
0(08) Other Felony Involved                       D (09) Other Circumstances             DOD) Unknown Circumstances            0 (20) Criminal Killed by Private Citizen
0 (21) Criminal Killed by Police Officer          0(30) Child Playing w/ Weapon          D (31) Gun-Cleaning Accident          0 (32) Hunting Accident
0(33) Other Negligent Weapon Handling             D (34) Other Negligent Killings
CLOTHING DESCRIPTION

HAT                                                               SHIRT                                                 SHOES
COAT                                                              PANTS/DRESS




                                                                                                                                                                    Page 3 of 7
                    Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 13 of 16
INCIDENT NUMBER          2020-019834                               •   JUVENILE INFORMATION                              Report generated: 2/20/2020 4:45 AM



                                                                       SUSPECT#!
     SUSPECT#            NAME (Last, First, Middle)                                                               AKA:
         1                                                         SINCLAIR,DOMINIQUE
   ARRESTEE#             ADDRESS:
                                                       3919 W 13TH ST LITTLE ROCK AR 72204
HOME PHONE:                                  WORK PHONE:                             MOBILE PHONE:                               OTHER PHONE:



SEX:   @(M)Male                   ETHNICITY:     0 (H)Hispanic          RACE:   O<WJ White       lt](B) Black 0(1) American Indian        DATE OF BIRTH
0CF)Female      0(U)Unk.         @CN) Non-Hispanic 0CU) Unk.                    0 (A) Asian I Pacific Islander   O (U) Unknown                  02/09/1986
RES. STATUS:        Ii) (R) Resident       MENTALLY AFFLICTED?                     OCCUPATION/ EMPLOYER:
0 (N) Nonresident 0 (U) Unknown           0CY)Ycs [ZJ(N) No 0CU) Unk.

AGE:                           SUSPECTS ACTIONS RELATED TO:              NIC:                            HEIGHT:             WEAPONS AT ARREST:
Exact Age:        34           ~VI
                                vs
                                         av2
                                           V6
                                                      BV3
                                                       V7
                                                             BV4
                                                              V8
                                                                                                         Ft
                                                                                                         In
                                                                                                                                  0(01) Unarmed               >   I
                                                                                                                                                                  I
Ranae:
       ---      -                                                                                                                 0 (1 I) Firearm {Unk)
                                                                                                                             -                                    ~
0 (99) Over 98 Years Old
O<OO) Unknown                 BDISPOSmON OF JUVENILE:
                                 (H) Handled within Department
                                 (R) Referred outside Department
                                                                         D.L. / ID No. (STATE)           WEIGHT:
                                                                                                         Lbs                -     0(12) Handgun
                                                                                                                                  0(13)Rifle                      i.
                                                                                                                             -    0(14) Shotgun
                                                                                                                                                               n
                                                                                                                                                              ._,
THIS SUSPECT RELATES TO WHICH OFFENSES?                        ARREST TYPE:                0(0) On View Arrest               -    0(15) Other Firearm
@I     @2      03      04       Os      06      07     Os     0 (S) Summons / Cited        0 (T) Taken Into Custody          -
                                                                                                                             0 ( 16) Illegal Cutting Instrument
ARREST LOCATION:                                                                            ARREST DATE:
                                                                                                                             0 (17) Club/Blackjack/Brass


CHARGE:       5-13-203            5-13-207

 ARRESTING OFFICERS
 OFFICER I:                                                 0MVR          OFFICERS:                                                  0MVR
 OFFICER 2:                                                 0MVR          OFFICER 6:                                                 0MVR
 OFFICER 3:                                                 0MVR          OFFICER 7:                                                 0MVR
 OFFICER 4:                                                 0MVR          OFFICER 8:                                                 0MVR


                                                                                                                  Suspect information continued on next page.




                                                                                                                                                           Page 4 of?
                  Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 14 of 16
INCIDENT NUMBER 2020-019834                                0 JUVENILE INFORMATION                               Report generated: 2/20/2020 4:45 AM



                                                               SUSPECT#l
     SUSPECT#       NAME (Last, First, Middle)                                                           AKA:
          1                                                   SINCLAIR,DOMINIQUE

COMPLEXION:       HAIR STYLE:           HAIR COLOR:        FACIAL HAIR:            DEMEANOR:                SCAR/MARK:               TATTOO:
O(l)Light
0(2)Medium
                 0(0l)Afro
                 0(02)Wavy
                                        • (!)Black
                                        0(2) Blonde
                                                           0(01) Clean Shaven
                                                           0 (02) Unshaven
                                                                                   0(01) Angry
                                                                                   0(02) Apologetic
                                                                                                            0(0l)Head
                                                                                                            0(02)Ncck
                                                                                                                                     0(1)Designs
                                                                                                                                     0 (2) Initials
Dmoark           0(03) Straight         O(J)Brown          0(03) Full Beard        0(03)Calm                0 (03) Hand (rt)         0(J)Names
0(4) Acne
0 (5) Freckled
0(6) Ruddy
                 0(04) Curly
                 0(05) Braided
                 0(06) Ponytail
                                        8(5)
                                        0(4) Grey
                                                 Red
                                             (6) Sandy
                                                           0(04) Must. (hvy)
                                                           0 (05) Must. (thin)
                                                           0 (06) Brows (hvy)
                                                                                   0(04) Irrational
                                                                                   0 (05) Nervous
                                                                                   0(06) Polite
                                                                                                            0 (04) Hand (1ft)
                                                                                                            0(05) Arm (rt)
                                                                                                            0(06) Ann (1ft)
                                                                                                                                     0(4) Pictures
                                                                                                                                     0(5) Words
                                                                                                                                     0(6) Numbers
~(7)0ther
   (8) Unknown
                 8(07) Military
                   (08) Processed
                                        •0   mother
                                             (8) Unknown
                                                           0(07) Brows (thin)
                                                           0(08) Side Bums
                                                                                   0 (07) Professional
                                                                                   0 (08) Stupor
                                                                                                            0(07) Body
                                                                                                            0(08) Leg (rt)
                                                                                                                                     0(7)Insignia
                                                                                                                                     0(8)None
                 0(09) Wig/Toupee                          0(09) Goatee            0(09) Violent            0 (09) Leg (1ft)         0(9) Unknown
HAIR LENGTH:                            EYE COLOR:                                                          O(IO)Other
                 0(10) Other                               000)0ther               000) Drunk/ High
Do> Long         0(11) Unknown          B(l)Blue           @O O Unknown            0(11) Other              0(Il)Norie               TATTOOLOC:
0(2)Medium                                 (2) Brown                               0(12) Unknown            2)(12) Unknown           0(01) Arm (1ft)
                 BUILD:
0(3) Short                              0(3) Grey                                                                                    0(02) Ann (rt)
0(4) Bald(ing)   0(l)Light              0(4)Green          CLOTHING DESCRIPTION:                                                     8(03) Leg (1ft)
0(5) Other       0(2)Medium             0<5) Hazel                                                                                     (04 l Leg (rt)
                                                           HAT                                                                       0 (05) Hand (1ft)
2)(6) Unknown    0(3)Heavy              0(6) Other
                 ~(4)Muscular           0 (7) Unknown      COAT                                                                      0(06) Hand (rt)
                    (5) Unknown                            SHIRT                                                                     8(07) Face
                                                           PANTS/DRESS                                                                 (08) Neck
                                                           SHOES                                                                     0(09) Finger(s)
                                                                                                                                     0(10) Chest
                                                                                                                                     0(11) Back

ADDED DESCRIPTION:
   n/a




                                                                                                                                               Page 5 of7
               Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 15 of 16
 INCIDENT NUMBER   2020-019834         0 JUVENILE INFORMATION          Report generated: 2/20/2020 4:45 AM




                                         NARRATIVE
 CONTACT WAS MADE WITH MR. CARSON, WHO WORKS AT THE LOCATION. MR. CARSON ADVISED MR. SINCLAIR
CAME BACK INTO THE BUSINESS AFTER BEING TOLD NOT TO RETURN. MR. CARSON STATED MR. SINCLAIR PUSH
THE DOOR INSIDE THE BUSINESS, WHICH RESULTED IN MR. CARSON GETTING STRUCK IN THE FACE WITH THE
DOOR. MR. MAHOSKY ADVISED HE GRABBED MR. SINCLAIR IN AN ATTEMPT TO RESTRAIN HIM. MR. MAHOSKY
ADVISED HE TOOK MR. SINCLAIR TO THE GROUND. MR. MAHOSKY ADVISED HE LET MR. SINCLAIR GO. MR.
MAHOSKY STATED MR. SINCLAIR KICKED HIM IN THE HEAD. I OBSERVED A HEMATOMA ON THE RIGHT SIDE OF MR.
MAHOSKY'S FOREHEAD. MR. MAHOSKY ADVISED HE DID NOT NEED AN AMBULANCE AND DID NOT WANT TO
PRESS CHARGES ON MR. SINCLAIR. I DID NOT OBSERVE ANY INJURES ON MR. CARSON'S FACE. MR. CARSON
WAS GIVEN THE INCIDENT NUMBER TO THIS REPORT AND ADVISED SEEK WARRANTS. OFFICERS CIRCULATED
THE AREA FOR MR. SINCLAIR WITH NEGATIVE RESULTS. MVR IN USE.




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                       Case 4:20-cv-00343-DPM Document 2 Filed 03/27/20 Page 16 of 16
INCIDENT ~UMBER          2020-019834                                  •    JUVENILE INFORMATION                                Report generated: 2/20/2020 4:45 AM



ADDITIONAL HOMICIDE CIRCUMSTANCES                                             0 (C) Criminal attacked a civilian                      0 (F) Criminal resisted arrest
Q(A) Criminal attacked police officer, that officer killed criminal
0(B) Criminal attacked police officer, criminal killed by other officer
                                                                              0(0) Criminal attempted flight from a crime
                                                                              0 (E) Criminal killed in commission of a crime
                                                                                                                                      •   (G) Unable to determine I
                                                                                                                                              not enough information

RELATED CASE NUMBER(S)

CARJACKING? QYES [ZINO                                                    DRIVE-BY?   •   YES [ZINO                              GANG RELATED?         QYES [l!NO

                                             HATE/BIAS RELATIONSHIP:                       0(88) None          0   YES, SEE BELOW
RACIAL (Anti-)                            RELIGIOUS (Anti-)                    ETHNICITY I NATIONAL ORIGIN (Anti-)                SEXUAL (Anti-)
Don White                                 0(2l)Jewish                          0 (32) Hispanic                                    0(41) Male Homosexual (Gay)
0(12)Black                                0f22) Catholic                       Om>    Other Ethnicity                             0(42) Female Homosexual (Lesbian)
0(13) American Indian/                    0(23) Protestant                                                                        0(43) Homosexual (Gay and Lesbian)
                                                                               DISABILITY (Anti-)
  Alaskan Native                          0(24) Islamic (Muslim)                                                                  0(44) Heterosexual
004) Asian/ Pacific Islander              D  (25) Other Religion               0 (5 I) Physical Disability                        0(45) Bisexual
Dos) Multi-Racial Group                   0(26) Multi-Religious Group          0(52) Mental Disability
                                          0 (27) Atheist/Agnostic




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